          Case 2:16-bk-16363-NB                  Doc 186 Filed 08/02/17 Entered 08/02/17 17:47:49                                        Desc
                                                   Main Document    Page 1 of 6

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
PROBER & RAPHAEL, A LAW CORPORATION
DEAN R. PROBER, ESQUIRE, #106207
LEE S. RAPHAEL, ESQUIRE #180030
CASSANDRA J. RICHEY, ESQUIRE #155721
MELISSA VERMILLION, ESQUIRE #241354
BONNI S. MANTOVANI, ESQUIRE #106353
ANNA LANDA, ESQUIRE #276607
DIANA TORRES-BRITO, ESQUIRE #163193
JONATHAN N. VAKNIN, ESQUIRE #263642
20750 Ventura Boulevard, Suite 100
Woodland Hills, California 91364
(818) 227-0100
(818) 227-0101 facsimile
cmartin@pralc.com

     Debtor(s) appearing without an attorney
     Attorney for: Secured Creditor Pecas, LLC

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                              DIVISION

 In re:                                                                      CASE NO.: 2:16-bk-16363-NB
 Lake Mathews Minerals Properties, LTD.,                                     CHAPTER: 7



                                                                                       NOTICE OF MOTION FOR ORDER
                                                                                           WITHOUT A HEARING

                                                                                                 [LBR 9013-1(p) or (q)]


                                                                                                      [No hearing required]
                                                             Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

               Pecas, LLC
1. Movant(s) ____________________________________________________________________________________,
                                                   Motion for Order Authorizing Examination of Shirley S.Smith,
   filed a motion or application (Motion) entitled __________________________________________________________
    Former General Counsel of Debtor, and Current Counsel of Partner of Debtor, Pursuant to FRBP 2004
   ____________________________________________________________________________________________                 .

2. Movant(s) requests that the court grant the motion without a hearing as provided for in:

          LBR 9013-1(p), which, in addition to notice via Notice of Electronic Filing, requires the motion to be served on
                                                 9013-1(o)(1) or
          additional parties as specified in LBR __________;

          LBR 9013-1(q), which requires service of the motion only on parties via Notice of Electronic Filing.


3. The motion is based upon the legal and factual grounds set forth in the motion. (Check appropriate box below):
          The full motion is attached to this notice; or
          The full motion was filed with the court as docket entry # ___, and a detailed description of the relief sought is
          attached to this notice.

          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                           Page 1                                F 9013-1.2.NO.HEARING.NOTICE
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4. Movant will promptly lodge an order that the court may use to rule on the motion, as the court may rule on the motion
   without a hearing and without an opportunity for any party to file a request for a hearing,.



                                                                      Respectfully submitted,



Date: 08/01/2017                                                      Cassandra J. Richey                                                .
                                                                      Signature of Movant or attorney for Movant

                                                                      Cassandra J. Richey, SBN 155721                                    .
                                                                      Printed name of Movant or attorney for Movant




         This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Prober & Raphael, A Law Corporation, 20750 Ventura Boulevard, Suite 100, Woodland Hills, CA 91364

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR ORDER WITHOUT HEARING
PURSUANT TO LBR 9013-1(p) or (q) will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
              , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Michael Jay Berger michael.berger@bankruptcypower.com,yathida.nipha@bankruptcypower.com;
 michael.berger@ecf.inforuptcy.com
Melanie Scott Green Melanie.green@usdoj.gov
Dare Law dare.law@usdoj.gov, ron.maroko@usdoj.gov
Cassandra J Richey cmartin@pralc.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 08/02/2017 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Shirley Smith, Esq.
9359 Lincoln Blvd., #4244
Los Angeles, CA 90045
Former Counsel for Debtor and current counsel for Partner of Debtor, James Holmes


                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 08/02/2017         Roger Soria                                                        /s/ Roger Soria
 Date                      Printed Name                                                       Signature

         This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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2: SERVED BY U.S. MAIL


Hon. Neil W. Bason
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street, Suite 1552
Los Angeles, CA 90012-3332
Judge’s Copy

Lake Mathews Mineral Properties, LTD.
100 Oceangate, Suite 1200
Long Beach, CA 90802
Debtor

Michael Jay Berger
9454 Wilshire Blvd 6th Fl
Beverly Hills, CA 90212-2929
Attorney for Debtor

United States Trustee (LA)
915 Wilshire Blvd, Suite 1850
Los Angeles, CA 90017

Melanie Scott Green
Office of the United States Trustee
915 Wilshire Blvd., Suite 1850
Los Angeles, CA 90017
Attorney for the U.S. Trustee

Dare Law
Office of the United States Trustee
915 Wilshire Blvd., Suite 1850
Los Angeles, CA 90017
Attorney for the U.S. Trustee

Parties on attached Creditors List


 Shirley S. Smith, Esq.
 1447 16th Street
 Santa Monica, CA 90404
 Prior General Counsel
Label Matrix for local noticing      Case 2:16-bk-16363-NB          Doc 186 LTDFiled 08/02/17
                                               Lake Mathews Mineral Properties,                  Entered
                                                                                            Los Angeles      08/02/17 17:47:49
                                                                                                        Division                 Desc
0973-2                                                                 Main
                                               19900 MacArthur Blvd Ste 1150   Document   Page   5  of  6
                                                                                            255 East Temple Street,
Case 2:16-bk-16363-NB                            Irvine, CA 92612-8433                      Los Angeles, CA 90012-3332
Central District of California
Los Angeles
Fri Jun 17 17:22:37 PDT 2016
Adam Telanoff, Esq.                              Ann Bitterman                              Baker & McKenzie, LLC
9737 Lurline Ave.                                Coral Gables                               300 East Randolph Street, Ste 5000
Chatsworth, CA 91311-4404                        405 Biltmore Way                           Chicago, IL 60601-6342
                                                 Coral Gables, FL 33134-5770


Danielia Wingham                                 David J Myers, Eqq                         Dennis Palmieri
3435 Ocean Park Blvd., No 107-43                 Kuzyk Law, LLP                             P O Box 2465
Santa Monica, CA 90405-3301                      17606 Camino de Yatasio                    Malibu, CA 90265-7465
                                                 Pacific Palisades, CA 90272-2014


Ernst Muusse                                     Franchise Tax Board                        Frank Cardinale
3435 Ocean Park Blvd., No. 107-43                Bankruptcy Section MS A340                 1300 Bristonl Street N. Ste 100
Santa Monica, CA 90405-3301                      PO Box 2952                                Newport Beach, CA 92660-2989
                                                 Sacramento, CA 95812-2952


(p)INTERNAL REVENUE SERVICE                      Jackson Cox                                Klover Trust
CENTRALIZED INSOLVENCY OPERATIONS                c/o Walter J. Sawacki, Esq.                c/o Frank Cardinale, Esq.
PO BOX 7346                                      2430 Ocean View Ave;, Ste 305              1300 Bristonl Street N., Ste 100
PHILADELPHIA PA 19101-7346                       Los Angeles, CA 90057-1894                 Newport Beach, CA 92660-2989


Lawrence Holmes Senior Mining, Inc               Martin Hudler & Bridgeport Mngmnt.         Matt Washin
100 Oceangate Ste 1200                           c/o Charles R Markley                      c/o Walter J Sawacki, Esq.
Long Beach CA 90802-4324                         Greene & Markely PC                        2430 Ocean View Ave., Ste 305
                                                 1515 SW 5th Ave.#600                       Los Angeles, CA 90057-1894
                                                 Portland, OR 97201-5492

PECAS LLC                                        PECAS PROPERTY HOLDINGS, LLC               Palmieri, Tyler, Winer, Wilhelm
1417 Via Anita                                   1417 Via Anita                             & Waldron, LLC
Pacific Palisades, CA 90272-2357                 Pacific Palisades, CA 90272-2357           1900 Main Steet, Suite 700
                                                                                            Irvine, CA 92614-7328


Shirley Smith, Esq.                              The Planning Group, LLC an Arizona         United States Trustee (LA)
James D Holmes                                   Altair LLC, an Arizona LLC                 915 Wilshire Blvd, Suite 1850
9359 Lincoln Blvd., Ste 4244                     800 N. Gainey Center Dr., Ste 176          Los Angeles, CA 90017-3560
Los Angeles, CA 90045-7103                       Scottsdale, AZ 85258
INTERNAL REVENUE SERVICE       Case 2:16-bk-16363-NB
                                         End of Label Matrix Doc 186 Filed 08/02/17 Entered 08/02/17 17:47:49   Desc
300 North Los Angeles Street             Mailable recipients 25Main Document    Page 6 of 6
M/S 5022                                 Bypassed recipients    0
Los Angeles, CA 90012                    Total                 25
